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United States District Court
Eastern District of New York                                     1:19-cv-04566

Howard Haut, Jane Doe, individually and on
behalf of all others similarly situated
                               Plaintiffs
                                                                   Complaint
                 - against -

Glanbia      Performance          Nutrition
(Manufacturing), Inc.
                               Defendant

       Plaintiffs by attorneys alleges upon information and belief, except for allegations

pertaining to plaintiffs, which are based on personal knowledge:


       1.    Glanbia Performance Nutrition (Manufacturing), Inc. (“defendant”) manufactures,

distributes, markets, labels and sells ready-to-eat (“RTE”) oatmeal cups and packets under the

ThinkThin and Think! brands (“Products”).

       2.    The Products are available to consumers nationwide from third-party retailers,

including brick and mortar and online stores and directly from defendant’s website.

       3.    The Products are sold in 1.76 oz (50g) servings in the following sizes:

                                            Individually Cases of 6+
                               Cups             ✓            ✓
                               Packets          x            ✓

I. Increased Consumption of Hot Cereals




                                                    1
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          4.    The market share of cold cereal among breakfast foods has been declining since 2001

due to (1) high levels of sugar, (2) increased awareness of obesity concerns and possible diabetes

and (3) gluten sensitivity of approximately 3 million Americans.1

          5.    According to BakeryandSnacks.com, “‘hot’ cereal products have stepped up to fill

the gaps in the market’ and meet consumers’ evolving demand for reduced sugar, increased fiber,

higher protein amounts and gluten-free options.”

          6.    This trend is reflected by the: 2

                    (1) 60% of Americans who consume hot cereal each week, with 40% of this

                        group consuming it multiples times per week;

                    (2) 8.5% increase in sales from 2008 to 2013; and

                    (3) 14.7% increase in sales from 2013 ($1.4 billion) to 2018 ($1.6 billion).


          7.    Upon introduction of the Products to market, defendant’s marketing personnel noted

multiple reasons why hot oatmeal appealed to consumers and how the product line, and this

Product, met those needs.3

         Positive Attributes               How Product Line Meets                Application to Products
                                            Consumer Demands

    ✓ Satisfies hunger with fewer ▪ “satiety benefits [from] fiber and • 10g Protein
      calories                      protein…can keep calories low”     • 5g Fiber
                                                                       • less than 200 calories

    ✓ Addition of       impactful ▪ due to neutral or bland oatmeal • Madagascar Vanilla
      unique flavors                taste, “you can make it taste
                                    really, really good”

    ✓ Inclusion of value-added ▪ “you can add a lot of benefits”                • Almonds


1
  Elizabeth Crawford, Can oatmeal save the cereal industry from slumping sales?, BakeryandSnacks.com, Mar. 23,
2015 citing Packaged Facts, Cold and Hot Breakfast Cereals in the U.S., Feb. 27, 2014
2
  https://www.packagedfacts.com/Cold-Hot-Breakfast-8056897/
3
  Crawford, supra.


                                                      2
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   ingredients, such as nuts,                                           • Pecans
   other grains and berries                                             • Red Quinoa

 ✓ Short, easy to understand ▪ “‘you don’t have to have a lot of        •   Cane Sugar
   ingredient list, as opposed things in the ingredients lists,’ so     •   Ground Vanilla Beans
   to cold cereals             it is easy to maintain a natural,        •   Almonds
                               clean label that appeals to              •   Pecans
                               consumers”


       8.    The relevant front label statements and images include (1) “Protein & Fiber Hot

Oatmeal,” (2) “Madagascar Vanilla, Almonds, Pecans,” (3) “Naturally Flavored,” (4) oatmeal cup

with almonds and pecans, (5) vignettes of almonds, pecans, vanilla beans and vanilla orchid and

(6) “10g Protein,” “5g Fiber,” and “190 Calories,” also reflected on the Nutrition Facts.

                         Front Label                                     Nutrition Facts




II. Vanilla’s Use in Food


       9.    Vanilla’s “desirable flavor attributes…make it one of the most common ingredients

used in the global marketplace, whether as a primary flavor, as a component of another flavor, or


                                                 3
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for its desirable aroma qualities.”4

        10.    According to flavor scientists, “Consumers’ insatiable appetite for this fragrant spice

means that an estimated 18,000 products on the market contain vanilla flavor today, with prices

for natural vanilla hovering around $300 per pound.”5

        11.    Though vanilla is used “by different regions and cultures in subtly different ways,

it’s a key ingredient in everything from cereal to Michelin-starred cuisine, and its popularity shows

no sign of declining.”6

        12.    While traditionally vanilla has been mostly used in desserts, it has been increasingly

used in other foods, “similar to [the ubiquity of] salt and pepper…to enhance food pleasure,”

because it “adds a spicy, delicate taste and packs a strong, enticing aroma.”7

        13.    Along with other “sweet spices” like “cinnamon, allspice and nutmeg, [and] extracts

such as vanilla are moving up the menu from desserts to the main course,” according to the global

spice and flavoring company, McCormick & Co. Inc.8

        14.    Vanilla “enhances the sweetness perception of foods,” allowing a manufacturer to

include less sugar, which appeals to most consumers, according to a product manager at a Midwest

flavor company:

                 [I]f you had a product with and without vanilla, most people would perceive
                 the one with added vanilla as sweeter. If you are designing reduced calorie
                 products and are cutting back on sugar in order to achieve that goal, you
                 might be able to add a little bit more vanilla to enhance the sweetness
                 perception.9

        15.    Another reason for increased popularity and usage of vanilla is “consumer demand


4
  D. Havkin-Frenkel, et al. “A comprehensive study of composition and evaluation of vanilla extracts in US retail
stores,” Handbook of Vanilla Science and Technology (2019): 349-366)
5
  Simran Sethi, The Bittersweet Story of Vanilla, Smithsonian.com, Apr. 3, 2017
6
  Syrmise, Vanilla – A Global Favorite Flavor
7
  New Uses for Vanilla, Bakto Flavors. Why Is Vanilla Added To Recipes? April 17, 2015 Melissa
8
  Linda Milo, Flavor Creations: Science Conjures the Essence of Flavors, Prepared Foods, Mar. 1, 2001.
9
  Laura Brandt, The Creation and Use of Vanilla, Natural Products Insider, Mar. 1, 1996.


                                                       4
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for all-natural foods and beverages.”10


III. Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand


         16.    In 1908, E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department

of Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla

consumed [in the United States] as all other flavors together.”11

         17.    The global landscape since The Pure Food and Drugs Act, enacted in 1906 to “protect

consumer health and prevent commercial fraud,” has changed little.12

         18.    Daily headlines alert us to this resurgent international threat of “food fraud”– whether

olive oil made from cottonseeds to the horsemeat scandal in the European Union.13

         19.    In terms of quality, vanilla is considered a “high-risk product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings etc.”14

         20.    Due to its versatility, demand and high value – second most expensive flavoring

ingredient (after saffron) – there have been continual attempts to dilute, imitate, adulterate and

“extend” vanilla.15


10
   Melody M. Bomgardner, The problem with vanilla After vowing to go natural, food brands face a shortage of the
favored flavor, Chemical & Engineering News, American Chemical Society (“ACS”), Vol. 94, Issue 36 pp. 38-42,
Sept. 12, 2016
11
   E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
12
   Berenstein, 412.
13
   Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al.,. "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
14
   Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
15
   “Extend” in the context of flavoring is a modern and polite way to say “dilute” or “adulterate” – to make what is
being “extended” go farther. Since “dilute” and “adulterate” have a deserved negative connotation, the flavor industry
and technical trade literature use the euphemistic term, “extend.”


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        21.    Though “food fraud” has no agreed-upon definition and the typologies and categories

often overlap, it encompasses a broad and ever-expanding range of techniques where the end result

is consumers getting less than what they bargained for.

        22.    For vanilla, the following general typologies of food fraud are illustrated in the left

column while examples of these practices as applied to vanilla are in the right column..16

                    Type                                                 Example

 Cheating on analytical tests by Manipulation of the carbon isotope ratios to produce
 containing markers specifically tested synthetic           vanillin    with    similar    carbon     isotope
 for                                           composition to natural vanilla

                                               Ground vanilla beans and/or seeds to provide visual
 Cheating by giving consumers the
                                               appeal as “specks” so consumer thinks they are a result
 impression the food or ingredient is
                                               of the product containing real vanilla bean, when the
 present in greater amounts and/or
                                               ground beans have been exhausted of flavor, and any
 higher quality form than it actually
                                               vanilla flavor tasted may not even be due to the presence
 contains
                                               of real vanilla


 Substitution or Replacement a food Tonka beans, which are banned from entry to the United
 product/ingredient with an alternate States, instead of vanilla beans.
 food product/ingredient of lower Coumarin, phytochemical found in Tonka beans, to
 quality                          increase the vanilla flavor perception.

                                               Caramel in vanilla extracts to darken the substance’s
 Coloring agents to produce a more color additives like caramel to enhance the hue of an
 attractive color                              imitation vanilla so it more closely resembles real
                                               vanilla.17




16
  https://www.ifsqn.com/fsf/Understanding%20Food%20Fraud.pdf
 Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
17

Research Service R43358, January 10, 2014.


                                                       6
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 Addition of less expensive substitute
                                                 Synthetically produced ethyl vanillin, derived from
 ingredient to mimic flavor of more
                                                 wood pulp, tree bark or coal tar.
 valuable component

                                                 subtle, yet deliberate misidentification and obfuscation
                                                 of a product’s components and qualities as they appear
     Ingredient list deception18                 on the ingredient list – “ground vanilla beans” as
                                                 containing actual vanilla flavor when they are devoid of
                                                 any naturally occurring vanilla flavor.

                                                 Combination with a variety of flavoring substances
                                                 such as propenyl guaethol (“Vanitrope”), a “flavoring
                                                 agent [, also] unconnected to vanilla beans or vanillin,

 Diluting/Extending                              but unmistakably producing the sensation of vanilla.”19

                                                 “Spiking” of vanilla through addition of natural flavors
                                                 which simulate the taste of vanilla, contrary to
                                                 consumer expectations and law.


           23.     As shown below, the “food fraud” typologies evident in the Products can be

classified as

           (1) Cheating by giving consumers the impression the food or ingredient is present in

                 greater amounts and/or higher quality form than it actually contains; and

           (2) Ingredient list deception.


IV. Representations on Products


           24.     The front label (below, with Nutrition Facts) statements and images include (1)



18
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar
19
   Berenstein, 423.


                                                         7
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“Protein & Fiber Hot Oatmeal,” (2) “Madagascar Vanilla, Almonds, Pecans,” (3) “Naturally

Flavored,” (4) vignettes of oatmeal cup sprinkled with almonds and pecans, (5) vanilla beans and

vanilla orchid adjacent to oatmeal cup and (6) “10g Protein,” “5g Fiber,” and “190 Calories.”




       25.   The Products are represented as containing vanilla through the statement,

“Madagascar Vanilla,” the vanilla bean and vanilla flower vignette on the front labels.


V. Ground Vanilla Beans is Misleading


       26.   A reasonable consumer will expect the Product to contain the flavor imparted by

actual ground vanilla beans.


   A. Ingredient List Amplifies, Instead of Curing, the Deception


       27.   Though mainstream commentators promote the “ingredient list” as part of a food

labeling unaffected by marketing and promotion, this “neutral” and “factual” space has become a

contested area, to the detriment of consumers.

       28.   The Product’s ingredient list appears to confirm the front label representations about


                                                 8
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the presence of actual vanilla flavor in the Products, imparted by “Ground Vanilla Beans.”




       Ingredients: Whole Grain Blend (Rolled Oats, Steel Cut Oats, Red Quinoa), Dried Cane
       Syrup, Isolated Soy Protein, Chicory Root Fiber, Natural Flavors, Almonds, Pecans, Sea
       Salt, Ground Vanilla Beans.

           29.    Consumers will see the representations as to the presence of Madagascar Vanilla on

the front and should they seek to dispel any ambiguity through review of the ingredient list, lest it

be thought their expectation of actual vanilla in an oatmeal cup was implausible, they will only be

further misled.

           30.    While consumers of the Products can physically taste and discern the presence of

actual almonds and pecans because these are solid foods with defined and understood texture, the

same is not true with respect to vanilla.

           31.    This is because vanilla is not consumed or added to foods for its nutritive value, but

exclusively for its flavor, and because it is a liquid derived from the vanilla plant, defined by law

as “the total sapid and odorous principles extractable from one unit weight of vanilla beans.”20

           32.    The presence of “ground vanilla beans” on the ingredient list is deceptive and

misleading because it gives the impression this ingredient contributes flavor because of the front

label claim of “Madagascar Vanilla” coupled with the presence of almonds and pecans.

           33.    This contributes to the false expectation that all three of these “called-out”

ingredients contribute to the sensory qualities of the Products, viz, taste (vanilla), nutritive value


20
     21 C.F.R. §169.3(c)


                                                     9
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(almonds, pecans).

           34.    The presence of “ground vanilla beans” as the last ingredient on the ingredient list is

deceptive and misleading because this ingredient is present in the smallest amount by weight,

based on the descending order of predominance by weight of the ingredients.

           35.    The presence of “ground vanilla beans” on the ingredient list is deceptive and

misleading because the reasonable consumer is not likely to be knowledgeable of the commercial

practices of the secretive and opaque vanilla flavor industry.


       B. Ground Vanilla Beans in Products are Exhausted or Spent Vanilla Beans


           36.    Exhausted vanilla beans are produced from previously extracted vanilla beans using

a drying, chopping and sining process… and act strictly in a cosmetic manner, as they are

flavorless.”21

           37.    In certain instances, exhausted or spent vanilla beans will be repurposed and infused

with synthetic vanillin or other flavoring substances and then incorporated into food.

           38.    However, they still would have no connection to actual vanilla and actual vanilla

beans which have not had all the flavor extracted from them before they were ground up and used.

           39.    According to Cook’s Vanilla,

           When flavor houses extract vanilla beans to make vanilla extract, the goal is to
           extract all possible flavor from the bean, including its seeds. After the vanilla
           extract has percolated for an optimal time, the vanilla bean pods and seeds sink to
           the bottom and are filtered from the extract. As a final step, the vanilla bean seeds
           are sifted from the spent vanilla bean pods. The resulting bean pods and seeds are
           known as “exhausted,” because all flavor has been extracted.22

           40.    According to one company that trades in vanilla products, “[T]he demand for



21
     Chat Nielsen, Jr., The Story of Vanilla, p. 15.
22
     Cook’s Blog, Vanilla Bean Seeds: A Troubling New Trend, June 13, 2019.


                                                        10
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exhausted or spent vanilla, (vanilla waste after extraction), and vanilla seeds sifted from this

material has exploded over the last 12 months” because the amount of actual vanilla has been at

low levels, in part due to climactic conditions.23

          41.     It is plausible and likely that the ground vanilla beans in the Products are in fact,

exhausted, or spent vanilla beans because:

           (1) the use of unexhausted ground vanilla beans would result in inconsistent flavoring

                 from batch to batch;

           (2) there are not enough unextracted vanilla beans available in commerce to be used on

                 a mass production scale in products like here; and

           (3) microbiological and other issues related to processing weigh against the use of ground

                 vanilla beans which have not been exhausted.


      C. If Any Vanilla Flavor from Vanilla is Present, it is Provided by “Natural Flavors”


          42.     The front label and ingredient list indicate the Products are:

                (1) “naturally flavored” and contain “natural flavors;” and

                (2) contain vanilla through the statement, “Madagascar Vanilla,” the vanilla pod and

                   flower vignette on the front labels and “ground vanilla beans” on the ingredient list.

          43.     The “naturally flavored” designation on the front label does not disclaim or disavow

the presence of real vanilla because the front label lists “Madagascar Vanilla, Almonds, Pecans.”

          44.     Since consumers can confirm through the eating properties the Products actually

contain almonds and pecans, because these are solid foods, supra, they will expect vanilla flavor

from the actual ground vanilla beans, in addition to any vanilla contained in the natural flavors.



23
     Aust & Hachman Canada, May 2019 Update.


                                                     11
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       45.   Accepting as true that “natural flavors” contains actual vanilla extract or flavor, in

addition to other natural flavors (“Vanilla WONF”), the reasonable consumer is justified in

expecting the Products contain more vanilla in the form of the ground vanilla beans.

       46.   While consumers of the Products may taste the hulls or shells of ground vanilla

beans, the flavor they simultaneously will recognize will be from the “Natural Flavors” in the

Products, not the ground vanilla beans.


VI. Conclusion


       47.   The proportion of the characterizing component, vanilla, has a material bearing on

price or consumer acceptance of the Products because it is more expensive and desired by

consumers.

       48.   Had Plaintiff and Class members known the truth about the Products, they would not

have bought the Product or would have paid less for it.

       49.   The Products contain other representations which are misleading and deceptive.

       50.   As a result of the false and misleading labeling, the Products are sold at premium

prices – no less than $2.99 per individual serving of 1.76 oz (50g) or $1.83 when purchased in

packs of six individual cups, excluding tax – compared to other similar products represented in a

non-misleading way.

                                     Jurisdiction and Venue


       51.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

       52.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

       53.   This court has personal jurisdiction over defendant because it conducts and transacts



                                                   12
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business, contracts to supply and supplies goods within New York.

        54.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        55.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                  Parties

        56.   Named Plaintiff is a citizen of Queens County, New York.

        57.   Jane Doe plaintiffs are citizens of the 49 states for which the identity of a named

plaintiff has not been disclosed, but who were affected in the same manner as the Named Plaintiffs.

        58.   The allegations as related to laws of other states where no named plaintiff has been

disclosed serves as a placeholder upon joinder or amendment.

        59.   Defendant is a Delaware corporation with a principal place of business in Downers

Grove, Illinois (DuPage County).

        60.   Defendant is a wholly-owned subsidiary of Glanbia PLC (“public limited

company”), an Irish food and beverage conglomerate with specialties in nutrition and dairy

products.

        61.   During the class period, Named and Jane Doe Plaintiffs purchased one or more of

the Products for personal use, consumption or application with the representations described

herein, for no less than the price indicated, supra, excluding tax, within their districts and/or states.

        62.   Named and Jane Doe Plaintiffs purchased the Products based upon the

representations on the packaging.

        63.   Named and Jane Doe Plaintiffs would consider purchasing the Products again if there

were assurances that the Products’ representations were no longer misleading.

                                           Class Allegations


                                                   13
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       64.    The classes will consist of all consumers in all 50 states with sub-classes for the

individual states.

       65.    The present complaint contains Named Plaintiffs from: New York, who will

represent his/her/their state sub-classes of persons who purchased any Products containing the

actionable representations during the statutes of limitation.

       66.    Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if Named and Jane Doe Plaintiffs

and class members are entitled to damages.

       67.    Named and Jane Doe Plaintiffs’ claims and the basis for relief are typical to other

members because all were subjected to the same representations.

       68.    Named Plaintiffs are adequate representatives because their interests do not conflict

with other members.

       69.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       70.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

       71.    Named and Jane Doe Plaintiffs’ counsel is competent and experienced in complex

class action litigation and intends to adequately and fairly protect class members’ interests.

       72.    Named and Jane Doe Plaintiffs seek class-wide injunctive relief because the practices

continue.

              New York General Business Law (“GBL”) §§ 349 & 350, California Consumers
                       Legal Remedies Act, Civ. Code §§ 1750-1785 (“CLRA”)
                    and Consumer Protection Statutes of Other States and Territories

       73.    Named and Jane Doe Plaintiffs assert causes of action under the consumer protection

statutes of the all 50 states, with Named Plaintiff asserting the consumer protection laws of his or


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her individual state.

   a. Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-1, et. seq.;
   b. Alaska Unfair Trade Practices and Consumer Protection Act, Ak. Code § 45.50.471, et.
       seq.;
   c. Arizona Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521 et. seq.;
   d. Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.;
   e. California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. and Unfair
       Competition Law, Cal. Bus. Prof. Code §§ 17200- 17210 et. seq.;
   f. Colorado Consumer Protection Act, Colo Rev. Stat § 6-1-101, et. seq.;
   g. Connecticut Unfair Trade Practices Act, Conn. Gen Stat § 42-110a, et. seq.;
   h. Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et. seq.;
   i. District of Columbia Consumer Protection Procedures Act, D.C. Code §§ 28-3901, et. seq.;
   j. Florida Deceptive and Unfair Trade Practices, Act Florida Statutes§ 501.201, et. seq.;
   k. Georgia Fair Business Practices Act, §10-1-390 et. seq.;
   l. Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statutes § 480 1, et. seq. and
       Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised Statute § 481A-1, et. seq.;
   m. Idaho Consumer Protection Act, Idaho Code § 48-601, et. seq.;
   n. Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS § 505/1, et. seq.;
   o. Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-0.5-1 et. seq.;
   p. Iowa Code §§ 714.16 et. seq.;
   q. Kansas Consumer Protection Act, Kan. Stat. Ann §§ 50 626, et. seq.;
   r. Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §§ 367.110, et. seq., and the
       Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann § 365.020, et. seq.;
   s. Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat. Ann. §§
       51:1401, et. seq.;
   t. Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et. seq., and Maine Uniform
       Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et. seq.;
   u. Maryland Consumer Protection Act, Md. Code, Com. Law § 13-101 et seq.;
   v. Massachusetts Unfair and Deceptive Practices Act, Mass. Gen Laws Ch. 93A;
   w. Michigan Consumer Protection Act, §§ 445.901, et. seq.;
   x. Minnesota Prevention of Consumer Fraud Act, Minn. Stat §§ 325F.68, et. seq.; and
       Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. § 325D.43, et. seq.;
   y. Mississippi Consumer Protection Act, Miss. Code An. §§ 75-24-1, et. seq.;
   z. Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et. seq.;
   aa. Montana Unfair Trade Practices and Consumer Protection Act, Mont. Code § 30-14-101,
       et. seq.;
   bb. Nebraska Consumer Protection Act, neb. Rev. Stat. § 59 1601 et. seq., and the Nebraska
       Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-301, et. seq.;
   cc. Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §§ 598.0903, et. seq.;
   dd. New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et. seq.;
   ee. New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8 1, et. seq.;
   ff. New Mexico Unfair Practices Act, N.M. Sta. Ann. §§ 57 12 1, et. seq.;
   gg. New York General Business Law (“GBL”) §§ 349 & 350;
   hh. North Carolina
   ii. North Dakota Consumer Fraud Act, N.D. Cent. Code §§ 51 15 01, et. seq.;



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   jj. Ohio Rev. Code Ann. §§ 1345.02 and 1345.03; Ohio Admin. Code §§ 109;
   kk. Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et. seq.;
   ll. Oregon Unfair Trade Practices Act, Ore. Rev. Stat. § 646.608(e) & (g);
   mm. Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 Pa. Stat. Ann. §§
       201-1 et. seq.;
   nn. Rhode Island Unfair Trade Practices and Consumer Protection Act, R.I. Gen. Laws § 6-
       13.1-1 et. seq.;
   oo. South Carolina Unfair Trade Practices Act, S.C. Code Law § 39-5-10, et. seq.;
   pp. South Dakota’s Deceptive Trade Practices and Consumer Protection Law, S.D. Codified
       Laws §§ 37 24 1, et. seq.;
   qq. Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101 et. seq.;
   rr. Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. & Com. Code Ann.
       §§ 17.41 et. seq.;
   ss. Utah Consumer Sales Practices Act, Utah Code Ann. §§ 13-11-1 et. seq.;
   tt. Vermont Consumer Fraud Act, Vt. Stat. Ann. Tit. 9, § 2451, et. seq.;
   uu. Virginia Consumer Protection Act, Va. Code Ann. §§ 59.1-196 et. seq.;
   vv. Washington Consumer Fraud Act, Wash. Rev. Code § 19.86/0101, et. seq.;
   ww. West Virginia Consumer Credit and Protection Act, West Virginia Code § 46A-6-101,
       et. seq.;
   xx. Wisconsin Deceptive Trade Practices Act, Wis. Stat. §§ 100.18, et. seq.; and
   yy. Wyoming Consumer Protection Act, Wyo. Stat. Ann.§§ 40-12-101 et. seq.;

       74.      Named and Jane Doe Plaintiffs and class members assert causes of action under the

consumer protection laws of their States.

       75.      Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because (1) it gives the impression to consumers the Products contain more of the characterizing

ingredients than they actually do and (2) the ingredient list does not dispel ambiguity but reinforces

the front-label impression as to a greater amount of the characterizing ingredients.

       76.      Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

       77.      Named Plaintiffs and Jane Doe Plaintiffs and class members desired to purchase

products which were as described by defendant and expected by reasonable consumers, given the

product type.

       78.      After mailing appropriate notice and demand, Named and/or Jane Doe Plaintiffs who

reside in a State where notice is required prior to seeking damages under that State’s Consumer


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Protection Statutes, will have mailed and/or have amended this complaint to request damages. Cal.

Civil Code § 1782(a), (d); Mass. UDAP, Mass. Gen Laws Ch. 93A, etc.

       79.    Named and/or Jane Doe Plaintiffs from California will seek injunctive and equitable

relief and attorney fees for that State’s sub-class for CLRA violations. Civ. Code § 1780(a); Cal.

Bus. & Prof. Code § 17203.

       80.    The representations and omissions were relied on by Named and Jane Doe Plaintiffs

and class members, who paid more than they would have, causing damages.

                                        Negligent Misrepresentation

       81.    Named and Jane Doe Plaintiffs and class members incorporate by reference all

preceding paragraphs.

       82.    Defendant     misrepresented     the    misrepresented   the   substantive,   quality,

compositional, health, organoleptic and/or nutritional attributes of the Products through

representing the characterizing ingredient was present in greater amount than it actually was.

       83.    Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       84.    This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge in the production, service and/or sale of the product type.

       85.    The representations took advantage of cognitive shortcuts made by consumers at the

point-of-sale and their trust placed in defendant, a well-known and widely recognized and

respected brand in this sector for this type of product.

       86.    Named and Jane Doe Plaintiffs and class members reasonably and justifiably relied

on these negligent misrepresentations and omissions, which served to induce and did induce, the

purchase of the Products.




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       87.   Named and Jane Doe Plaintiffs and class members would not have purchased the

Products or paid as much if the true facts had been known, suffering damages.

             Breaches of Express Warranty Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       88.   Named and Jane Doe Plaintiffs incorporate by references all preceding paragraphs.

       89.   Defendant manufactures and sells products which contain a characterizing ingredient

or flavor which is desired by consumers.

       90.   The Products warranted to Named and Jane Doe Plaintiffs and class members that

they possessed substantive, functional, nutritional, qualitative, compositional, organoleptic,

sensory, physical and other attributes which they did not.

       91.   Defendant’s ingredient list informed Named and Jane Doe Plaintiffs the Products

contained flavoring from actual vanilla beans, not only from the ingredient designated as “Natural

Flavors,” but also from the “ground vanilla beans.”

       92.   Defendant had a duty to disclose and/or provide a non-deceptive description of the

Products’ ingredients and knew or should have known same were false or misleading.

       93.   This duty is based, in part, on defendant’s position as one of the most recognized

nutritional companies in the world.

       94.   The Products warranted to Named and Jane Doe Plaintiffs and class members that

the characterizing ingredient, emphasized by the Product’s name, description, label and/or website

and marketing, was (1) present in its unmodified, unexhausted form derived from ground vanilla

beans from which all flavor had not been extracted and/or (2) contained an amount of said

ingredient sufficient to independently characterize the Products.

       95.   Named and Jane Doe Plaintiffs desired to purchase products which were as described

by defendant.



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        96.   The Products did not conform to their affirmations of fact and promises, wholly due

to defendant’s actions and were not merchantable.

        97.   To the extent notice may be required, Named and Jane Doe Plaintiffs have or intend

to send notice to defendant and reserve all rights to amendment of this complaint.

        98.   Named and Jane Doe Plaintiffs and class members relied on defendant’s claims,

paying more than they would have.

                                                Fraud


        99.   Named and Jane Doe Plaintiffs incorporate by references all preceding paragraphs.

        100. Defendant’s purpose was to sell a product which contained a valuable and desired

characterizing ingredient or flavor, and represent the Products were exclusively or predominantly

flavored from that food, and contained sufficient independent amounts of same such that they

would accurately be described by the product name, representations and marketing.

        101. The Products were not flavored exclusively from the characterizing ingredient

because the “Natural Flavors” listed on the ingredient list is, at best, a placeholder for an ingredient

that is sometimes identified as vanilla with other natural flavors (“vanilla wonf”).

        102. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products’ ingredients when it was the sole entity in a position to disclose this but chose a name

which did not accurately describe the composition and qualities of this ingredient.

        103. Defendant’s intent was to secure economic advantage in the marketplace against

competitors by appealing to consumers who value products with this characterizing ingredient for

the above-described reasons.

        104. Named and Jane Doe Plaintiffs and class members observed and relied on

defendant’s claims, causing them to pay more than they would have, entitling them to damages.



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                                         Unjust Enrichment

       105. Named and Jane Doe Plaintiffs incorporate by references all preceding paragraphs.

       106. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                               Jury Demand and Prayer for Relief

Named and Jane Doe Plaintiffs demand a jury trial on all issues.

    WHEREFORE, Named and Jane Doe Plaintiffs pray for judgment:

   1. Declaring this a proper class action, certifying named plaintiffs as representatives and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

       to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiffs’ attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: August 7, 2019
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
                                                              Spencer Sheehan (SS-8533)
                                                              505 Northern Blvd., Suite 311


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1:19-cv-04566
United States District Court
Eastern District of New York

Howard Haut, Jane Doe individually and on behalf of all others similarly situated


                                        Plaintiff


        - against -


Glanbia Performance Nutrition (Manufacturing), Inc.

                                        Defendant




                                          Complaint


                             Sheehan & Associates, P.C.
                              505 Northern Blvd., #311
                                Great Neck, NY 11021
                                Tel: (516) 303-0552
                                Fax: (516) 234-7800



Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: August 7, 2019
                                                                        /s/ Spencer Sheehan
                                                                         Spencer Sheehan
